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  IT IS ORDERED as set forth below:



  Date: May 12, 2022
                                                   _____________________________________
                                                               James R. Sacca
                                                         U.S. Bankruptcy Court Judge

  _______________________________________________________________



                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                 GAINESVILLE DIVISION

In re:                                       )       Chapter 11
                                             )
CHRISTOPHER JAMES EASON                      )       CASE NO. 22-20261-jrs
                                             )
                 Debtor.                     )
                                             )

   ORDER ON MOTION FOR ORDER REQUIRING DEBTOR TO PRODUCE
     DOCUMENTS PURSUANT TO FEDERAL RULE OF BANKRUPTCY
                       PROCEDURE 2004

          The Motion of Westbrook Atlanta, LLC (the “Movant”) for an order pursuant to Federal

Rule of Bankruptcy Procedure 2004 to take discovery, filed herein on May 4, 2022 (Docket No.

29) (the “Motion”), having been read and considered, it is

          ORDERED that the Motion be, and the same hereby is, granted as follows:

Christopher James Eason (“Debtor”), shall timely respond to the document requests made by the

Movant in accordance with Fed.R.Bankr.P. 2004(c), on or before June 8, 2022, or such other

mutually agreed upon date, time, and place; Debtor may assert written objections in good faith to

the requests as if such requests had been served pursuant to Fed.R.Bankr.P. 7034, and shall produce


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to the Movant on or before June 8, 2022, all responsive documents that are not subject to a valid timely

asserted objection; and it is further

          ORDERED that if attendance, if applicable, and production of designated documents in

connection with said examination, cannot be obtained voluntarily, the Movant may compel such

attendance and production of documents as stated in Fed.R.Bankr.P. 2004(c) in the manner

provided in Fed.R.Bankr.P. 9016, which incorporates the procedure for the issuance of a subpoena

as set forth in Federal Rule of Civil Procedure 45; it is further

          ORDERED that the Clerk is directed to serve a copy of this Order upon counsel for the

Debtor, counsel for the Movant, and the Office of the United States Trustee.

                                         [END OF DOCUMENT]




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Prepared and presented by:

COHEN POLLOCK MERLIN TURNER, P.C.
ATTORNEYS FOR WESTBROOK ATLANTA, LLC

By:       /s/ Bruce Z. Walker
          Bruce Z. Walker
          Georgia Bar No.: 731260

3350 Riverwood Parkway
Suite 1600
Atlanta, GA 30339
(P) 770-857-4770
(F) 770-857-4771
bwalker@cpmtlaw.com




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Will Geer, Esq.
Wiggam & Geer, LLC
50 Hurt Plaza
Suite 1150
Atlanta, Georgia 30303

David S. Weidenbaum, Esq.
Office of the U.S. Trustee
362 Richard Russell Federal Building
75 Ted Turner Drive SW
Atlanta, GA 30303

Albert F. Nasuti, Esq.
Thompson, O’Brien, Kappler & Nasuti, PC
2 Sun Court, Suite 400
Peachtree Corners, GA 30092




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